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                                                     THE HONORABLE JOHN C. COUGHENOUR
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                                UNITED STATES DISTRICT COURT
 7                             WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
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 9          INTERNATIONAL NEWS, INC.,                         CASE NO. C18-0302-JCC
10                                 Plaintiff,
                                                              MINUTE ORDER
11                 v.

12          10 DEEP CLOTHING, INC.,
13                                 Defendant.
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15          The following Minute Order is made by direction of the Court, the Honorable John C.

16 Coughenour, United States District Judge:

17          This matter comes before the Court on Plaintiff’s motion for reconsideration (Dkt. No.

18 116) of the Court’s Order (Dkt. No. 115) in response to Plaintiff’s motion for partial summary

19 judgment (Dkt. No. 30). Plaintiff’s motion for reconsideration does not show that the Court

20 committed manifest error. Accordingly, the motion (Dkt. No. 116) is DENIED.

21          The United States Courthouse in Seattle remains closed in light of the novel coronavirus

22 pandemic, with a substantial trial backlog once it reopens. See W.D. Wash. Gen. Orders Nos. 02-

23 20, 11-20, 13-20, 15-20. Given these circumstances, the Court will not currently set a trial date.

24 Instead, within twenty-one (21) days of the reopening of the Seattle Courthouse, the parties are

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 1 ORDERED to meet-and-confer 1 and to provide the Court with a Joint Status Report. The Report

 2 should provide the Court with three proposed alternative trial dates, the number of days the

 3 parties now anticipate are needed for trial, and any potentially conflicting trial dates for counsel,

 4 i.e., counsel’s other scheduled trials. If the parties are unable to agree on any part of the Report,

 5 they may answer in separate paragraphs; no separate reports are to be filed.

 6          DATED this 5th day of November 2020.

 7                                                           William M. McCool
                                                             Clerk of Court
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 9                                                           s/Paula McNabb
                                                             Deputy Clerk
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                This meet-and-confer must be a face-to-face meeting or a telephonic conference.


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